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		OSCN Found Document:RE AUTHORIZATION OF ELECTRONIC DOCKETS FOR CASE TYPES CJTD AND CJAD

					

				
  



				
					
					
						
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				RE AUTHORIZATION OF ELECTRONIC DOCKETS FOR CASE TYPES CJTD AND CJAD2020 OK 101Decided: 12/07/2020As Corrected: December 9, 2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 101, __ P.3d __

				


RE: Authorization of Electronic Dockets for Case Types CJTD and CJAD


ORDER
¶1 In order to provide electronic access to the dockets of the Court on the Judiciary Trial and Appellate Divisions, the following electronic case types/prefixes are hereby authorized for use on the Oklahoma Supreme Court Network and the Oklahoma Case Information System:




Case Type/Prefix

Description


CJTD

Court on the Judiciary, Trial Division


CJAD

Court on the Judiciary, Appellate Division
¶2 The dockets for the Court on the Judiciary Trial and Appellate Divisions are currently publicly available, but are manually entered in docket books in the Office of the Court Clerk of the Appellate Courts. This authorization will allow future filings in the Court of the Judiciary to be&nbsp;docketed electronically, and will enable the dockets to be publicly available electronically. Dockets of past filings in the Court on the Judiciary will not be publicly available electronically.
¶3 The above case types/prefixes shall be integrated as soon as practicable for use by the Court Clerk of the Appellate Courts. These case types will be identified with the applicable prefix, then a hyphen, and then all four digits of the calendar year, which will be followed by a hyphen and the number of the case. Cases will be consecutively numbered within a calendar year. The four digits of the calendar year designation will be changed on each January 1 thereafter, and the consecutive case number will begin again with number 1. Case numbers will be assigned by the Clerk of the Appellate Courts to ensure the cases remain in sequence.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of December, 2020.

/S/CHIEF JUSTICE

ALL JUSTICES CONCUR.




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